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                         EXHIBIT 1
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St. John, Joseph

From:                              St. John, Joseph
Sent:                              Thursday, February 9, 2023 4:11 PM
To:                                Ward, Brian C. (CIV); Reuveni, Erez R. (CIV)
Cc:                                james.percival@myfloridalegal.com
Subject:                           Arizona v. Garland, No. 6:22-1130 (W.D. La.)
Attachments:                       2023.02.09 Plaintiffs Second RFPs to United States.pdf


Brian:

Please see the attached document requests. After you have a chance to talk with your clients, let’s chat next week to
resolve any issues.

Best regards,
Scott


                        Joseph Scott St. John
                        Deputy Solicitor General
                        Office of Attorney General Jeff Landry
                        Tel: (225) 485-2458
                        stjohnj@ag.louisiana.gov
                        www.AGJeffLandry.com




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA
                               LAFAYETTE DIVISION

  THE STATE OF ARIZONA,
  By and through its Attorney General, Mark
  Brnovich, et al.,

                                        PLAINTIFFS,

  v.

  MERRICK GARLAND, in his official capacity           CIVIL ACTION NO. 6:22-cv-01130
  as Attorney General of the United States, et al.,

                                     DEFENDANTS.


                    PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION

        Pursuant to Federal Rules of Civil Procedure 34 and the Court’s January 17, 2023, Order,

 Plaintiffs hereby propound these Requests for Production on all Defendants.

                                           DEFINITIONS

        The following definitions apply to these Interrogatories and Requests for Production:
        1.      “ALL,” “ANY,” “EACH,” and “EVERY” shall be construed inclusively to include

 the collective as well as the singular meaning so as to include the broadest possible amount of

 information.

        2.      “ASYLUM APPLICANT” means any person who has indicated either an intention

 to apply for asylum under 8 U.S.C. 1158 or a fear of persecution, and has been deemed by one or

 more Defendants herein to have applied for asylum on their own behalf or on behalf of another, in

 any form, including, without limitation, Form I-589 or the written record of the credible fear

 determination. ASYLUM APPLICANT includes without limitation any person who has submitted

 (or on whose behalf was submitted) or a refugee/asylee relative petition (Form I-730).

        3.      “ASYLUM CLAIM” or “ASYLUM APPLICATION” means any asylum
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 application made by an alien pursuant to 8 U.S.C. § 1158 or through the procedures described in 8

 U.S.C. § 1225(b), and includes an application for withholding of removal pursuant to 8 U.S.C. §

 1231(b)(3), or relief under the Convention Against Torture pursuant to 8 C.F.R. §§ 1208.17 and

 1208.18.

         4.      “ASYLUM NPRM” refers to the August 20, 2021, Notice of Proposed Rulemaking,

 Procedures for Credible Fear Screening and Consideration of Asylum, Withholding of Removal, and

 CAT Protection Claims by Asylum Officers, 86 Fed. Reg. 46,906 (Aug. 20, 2021), including its

 precursors, drafts, or pre-publication versions.

         5.      “ASYLUM IFR” or “FINAL RULE” refers to the March 29, 2022 Interim Final

 Rule, Procedures for Credible Fear Screening and Consideration of Asylum, Withholding of Removal,

 and CAT Protection Claims by Asylum Officers, 87 Fed. Reg. 18078-01 (Mar. 29, 2022), including its

 precursors, drafts, or pre-publication versions.

         6.      “COMMUNICATION” means any message, document, email, fax, letter, voicemail,

 or other expressed idea (collectively “message”) that has been recorded in writing, electronically, or

 by audio or video means and transmitted to one or more individuals, including the creator of the

 message, either simultaneously with the creation of the message or after its creation.

         7.      “DOCUMENT” is consistent with the full scope of Federal Rule of Civil Procedure

 34, and includes any document or electronically stored information—including writings, drawings,

 graphs, charts, photographs, sound recordings, images, and other data or data compilations—stored

 in any medium from which information can be obtained either directly or, if necessary, after translation

 by the responding party into a reasonably usable form. “Document” includes communications, as

 defined above, and all drafts and copies of a document or electronically stored information.
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        8.      “IDENTIFY,” with respect to a person, means the person’s full name, alien

 registration number (A-number), country of citizenship or nationality, residence in the United States,

 mailing address in the United States, telephone number, and date of birth.

        9.      “USCIS” means Defendant U.S. Citizenship & Immigration Services.

        10.     “CBP” means Defendant U.S. Customs & Border Protection.

        11.     “DHS” means Defendant U.S. Department of Homeland Security.

        12.     “DOJ” means Defendant U.S. Department of Justice.

        13.     “EOIR” means Defendant Executive Office for Immigration Review.

        14.     “ICE” means Defendant U.S. Immigrations & Customs Enforcement.

        15.     “YOU” and “YOUR” refer to all named Defendants in the above-captioned case, the

 United States Department of Justice in its capacity as counsel for any of the named Defendants, and

 any persons or agencies acting on their behalf.

                                          INSTRUCTIONS

        In addition to the specific instructions enumerated below, the instructions set forth in Federal

 Rules of Civil Procedure 26 and 34 are incorporated herein by reference.

        1.      These Requests for Production call for ALL responsive DOCUMENTS in YOUR

 possession, custody, or control.

        3.      Produce ALL responsive DOCUMENTS in electronic format. For DOCUMENTS

 that exist only in paper or other physical format, provide true and complete electronic copies of each.

        4.      Bates label ALL DOCUMENTS produced in response to these Requests.

        5.      For each DOCUMENT YOU withhold, include that document on a log of privileged

 documents.

        6.      Where responsive DOCUMENTS take the form of electronically stored information
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 in a database or other data compilation, Plaintiffs are willing to meet and confer about the appropriate

 manner of production.

         7.       Unless otherwise stated, the relevant time period is January 1, 2018 through the date

 of any trial in this matter.
                                       SPECIFIC REQUESTS
         1. DOCUMENTS sufficient to IDENTIFY by year and month, all ASYLUM APPLICANTS
 who provided to YOU an address for residence in the United States or a mailing address in the United
 States that is located in Florida or Louisiana.
         2. DOCUMENTS sufficient to IDENTIFY by year and month, all ASYLUM APPLICANTS
 located in Florida or Louisiana.
         3. DOCUMENTS sufficient to IDENTIFY by year and month, all ASYLUM APPLICANTS
 granted parole under the authority of 8 U.S.C. § 1182(d)(5) or any other authority, and who provided
 to YOU an address for residence in the United States or a mailing address in the United States that is
 located in Florida or Louisiana, or who are otherwise known to YOU to be residing in Florida or
 Louisiana.
         4. DOCUMENTS sufficient to IDENTIFY by year and month, all ASYLUM APPLICANTS
 released from CBP or ICE detention (whether via parole or otherwise) in Florida or Louisiana,
 including without limitation from the Pine Prairie ICE Processing Center in Pine Prairie, Louisiana;
 the Allen Parish Public Safety Complex in Oberlin, Louisiana; the Catahoula Correctional Center in
 Harrisonburg, Louisiana; the Natchitoches Parish Detention Center in Natchitoches, Louisiana; the
 Richwood Correctional Center in Monroe, Louisiana; the LaSalle ICE Processing Center in Jena,
 Louisiana; the South Louisiana ICE Processing Center in Basile, Louisiana; the River Correctional
 Center in Ferriday, Louisiana; the Bossier Medium Security Facility in Plain Dealing, Louisiana; the
 Jackson Parish Correctional Center in Jonesboro, Louisiana; the Winn Correctional Center in
 Winnfield, Louisiana; the Baker County Facility in MacClenny, Florida; the Broward Transitional
 Center in Pompano Beach, Florida; the Glades County Detention Center in Moore Haven, Florida;
 the Krome North Service Processing Center in Miami, Florida; and any other detention facility with
 which ICE or CBP has entered into an intergovernmental agreement, intergovernmental service
 agreement, or other contractual agreement with any entity, including a state or local government, to
 detain aliens in Florida or Louisiana.
         5. DOCUMENTS sufficient to IDENTIFY by year and month, all persons granted asylum
 by USCIS pursuant to 8 U.S.C. § 1158, withholding of removal pursuant to 8 U.S.C. § 1231(b)(3), or
 relief under the Convention Against Torture pursuant to 8 C.F.R. §§ 1208.17 and 1208.18, from
 January 20, 2021 through the present, who do or did have a (a) residence address in Florida or
 Louisiana or (b) a mailing address in Florida or Louisiana.
       6. DOCUMENTS sufficient to IDENTIFY by year and month, all persons granted asylum
 by EOIR pursuant to 8 U.S.C. § 1158, withholding of removal pursuant to 8 U.S.C. § 1231(b)(3), or
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 relief under the Convention Against Torture pursuant to 8 C.F.R. §§ 1208.17 and 1208.18, from
 January 20, 2021 through the present, who do or did have a (a) residence address in Florida or
 Louisiana or (b) a mailing address in Florida or Louisiana.
         7. All DOCUMENTS related to any training in connection with the ASYLUM IFR. This
 request specifically includes, without limitation, recordings of training sessions and any handouts and
 training materials.
         8. DOCUMENTS sufficient to IDENTIFY by name, position, and agency (both within the
 federal government and outside the federal government, to include nongovernmental organizations)
 the individuals who prepared DOCUMENTS produced in response to Request No. 7 and who
 participated in such training.
         8. All DOCUMENTS or COMMUNICATIONS related to training materials, courses,
 guidance, handbooks, or manuals for Immigration Judges or Asylum Officers related to adjudication
 of aliens’ credible fear claims or asylum claims, or related to implementing the ASYLUM NPRM or
 ASYLUM IFR.
          9. All policies issued related to Employment Authorization Document (EAD) issuance for
 aliens in Expedited Removal (ER); those processed pursuant to the Asylum IFR; and those placed in
 removal proceedings under section 240 of the Immigration and Nationality Act, 8 U.S.C. § 1229a.

         10. DOCUMENTS sufficient to IDENTIFY all recipients (including sub-grantees) of grants
 awarded or administered by DHS, DOJ, or any of their respective components to individuals or
 organizations in connection with providing any form of assistance or support to persons who (a) have
 applied for asylum and (b) reside in or have a mailing address in Louisiana or Florida.
        11. DOCUMENTS sufficient to establish the following data, in each case on a monthly basis:
        a.      USCIS data showing the number of asylum grants by country, by claim (specifically
        including, without limitation, particular social groups based on domestic violence and fear of
        gangs, gang threats, gang recruitment efforts, gang-related extortion efforts, and/or former
        gang membership, or any other harms inflicted by or related to gangs.).

        b.       USCIS data showing the number of asylum referrals to immigration judges, by country,
        by claim (specifically including, without limitation, particular social groups based on domestic
        violence and fear of gangs, gang threats, gang recruitment efforts, gang-related extortion
        efforts, and/or former gang membership, or any other harms inflicted by or related to gangs.).

        c.       USCIS data showing the number of grants of withholding of removal and Convention
        Against Torture relief by country, by claim (specifically including, without limitation, particular
        social groups based on domestic violence and fear of gangs, gang threats, gang recruitment
        efforts, gang-related extortion efforts, and/or former gang membership, or any other harms
        inflicted by or related to gangs.).

        d.      EOIR data showing the number of asylum grants by country, by claim (specifically
        including, without limitation, particular social groups based on domestic violence and fear of
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         gangs, gang threats, gang recruitment efforts, gang-related extortion efforts, and/or former
         gang membership, or any other harms inflicted by or related to gangs.).

         e.       EOIR data showing the number of grants of asylum, withholding of removal, and
         Convention Against Torture relief based on adjudications by USCIS pursuant to the ASYLUM
         IFR, by country, by claim (specifically including, without limitation, particular social groups
         based on domestic violence and fear of gangs, gang threats, gang recruitment efforts, gang-
         related extortion efforts, and/or former gang membership, or any other harms inflicted by or
         related to gangs.).

         f.      EOIR data showing the number of terminations and dismissals of removal
         proceedings (specifying each category), stating the specific basis or ground for termination or
         removal, and specifying by charge of removability, by relief requested, and by country of birth
         or nationality.

         g.      EOIR data showing the number of cases administratively closed, stating the specific
         basis or ground for administrative closure, and specifying by charge of removability, by relief
         requested, and by country of birth or nationality.

         h.      EOIR data showing the number of cases taken off calendar and deferred for
         adjudication under the authority of 8 C.F.R. §§ 1003.0(b)(1)(ii) or 1003.9(b)(3), or other
         authority, and specifying by charge of removability, by relief requested, and by country of birth
         or nationality.

         i.      DHS data on grants of parole, including by country of citizenship or nationality, by
         parole category, and by state of residence.

         j.      USCIS data on EAD issuance, including by country, by EAD category, and by state
         of residence.

         k.      DHS data on credible fear determinations, specifying the number of determinations
         of positive fear, negative fear, or other disposition, with an explanation of each category
         described as “other.”

          12.      DOCUMENTS sufficient to show, on a monthly basis, the length of time between an
 alien’s first encounter by CBP or ICE upon arrival in the United States and the issuance of a charging
 document under Title 8 of the United States Code seeking the alien’s removal from the United States,
 categorized as follows: (1) within 3 days; (2) within 7 days; (3) within 15 days; (4) within 30 days; (5)
 within 60 days; (6) within 90 days; (7) within 120 days; (8) within 180 days; (9) within 365 days; (10)
 more than 365 days.

        13.     All DOCUMENTS relating to any policy or practice of granting parole or granting
 work authorization before a non-citizen is (a) required to report to ICE or (b) file a Form I-589.
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                                  3255


 Dated: February 9, 2023

                                    Respectfully submitted,

                                    JEFF LANDRY
                                     Attorney General

                                    /s/ Joseph S. St. John
                                    ELIZABETH B. MURRILL (La #20685)
                                    Solicitor General
                                    J. SCOTT ST. JOHN (La #36682)
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                                    Counsel for Plaintiff State of Florida
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                                   3256


                                  CERTIFICATE OF SERVICE
          I certify that on this 9th day of February, 2023, I am causing the foregoing document to be
   served via email to brian.c.ward@usdoj.gov and erez.r.reuveni@usdoj.gov and via first class U.S.
                              mail, postage prepaid, to the following address
                                            Brian Ward
                                     U.S. Department of Justice
                                  P.O. Box 868 Ben Franklin Station
                                    Washington, DC 20044-0868



                                                                       /s/ Joseph S. St. John
